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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

CHRISTINE L. TYLER,

       Plaintiff,                                Case No. 17-12983

v.                                               Honorable Laurie J. Michelson

FABRIZIO & BROOK, P.C.,

       Defendant.


                                       JUDGMENT


        IT IS ORDERED AND ADJUDGED that pursuant to this Court’s Opinion and Order

 dated March 4, 2019, Plaintiff’s complaint is DISMISSED.


Dated at Detroit, Michigan this 4th Day of March 2019.


                                                                DAVID J. WEAVER
                                                                CLERK OF THE COURT


                                                                BY: s/William Barkholz
                                                                    Deputy Clerk

       APPROVED:

       s/Laurie J. Michelson
       LAURIE J. MICHELSON
       UNITED STATES DISTRICT JUDGE
